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PHILIP J. TRENCHAK, ESQ.

Nevada State Bar No. 9924 .
Mullins & Trenchak, Attorneys at Law
1614 S. Maryland Parkway

Las Vegas, Nevada 89104

P: (702) 778-9444

F: (702) 778-9449

E: phil@mullinstrenchak.com

E: victoria@mullinstrenchak.com

 

 

 

 

 

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
TIMOTHY DICKENS, an individual, CASE NO.:
oe COMPLAINT AND JURY DEMAND
Plaintiff,
Causes of Action:
VS. I) Discrimination based on gender
2) Discrimination based on age in violation of

GNLV CORP, doing business as GOLDEN 3) Discrimination based on Disability in
NUGGET LAS VEGAS, a domestic corporation, violation of the ADA

Defendants.

COMPLAINT

Plaintiff, TIMOTHY DICKENS (hereinafter “Plaintiff’) by and through his attorney PHILIP

J. TRENCHAK, Esq., of Mullins and Trenchak, Attorneys at Law, hereby brings suit against GNLV

CORP, doing business as GOLDEN NUGGET LAS VEGAS, a domestic corporation, (hereinafter
“Defendant”), inclusive, and avers and alleges as follows:

JURISDICTION

1, This is an action for damages arising under Title VII of the Civil Rights Act of 1964 (“Title

VIF"), Section 706 of Title VII unlawful discharge, Violation of the Americans with Disabilities Act, and

Violation of the Age Discrimination in Employment Act and the Older Workers Benefits Act

(ADEA/OWBPA).
2. This Court has primary jurisdiction over claims set forth herein pursuant to 28 U.S.C. §

 
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1331 (federal question), 28 U.S.C. §1343(a)(4\(civil rights action) and 42 U.S.C. §2000e-5(f}(3 (unlawful
discrimination and retaliation in employment). This Court has supplemental jurisdiction over any state
law claims pled herein pursuant to 28 U.S.C. §1367.

3, All material allegations relative to the named defendants contained in this Complaint are
believed to have occurred in the State of Nevada, Clark County. Therefore, venue properly lies in the
southern division of the United States Court for the District of Nevada pursuant to 28 U.S.C. §1391(b)(2).

EXHAUSTION OF ADMINISTRATIVE REMEDY

4, Plaintiff initiated the process of filing a Charge of Discrimination against his former
employer, the Defendant named in this action, with the United States Equal Opportunity Commission
(“EEOC”) wherein he alleged discrimination on the basis of his age, gender, and disability. This was
done within 300 days of the incident giving rise to this complaint. Please see attached Exhibit B.

5. Thereafter, Plaintiff's Attorney received TIMOTHY DICKENS’s Notice of Right to Sue
from the U.S. Equal Employment Opportunity Commission and EEOC Charge of Discrimination. Please
see attached Exhibit A.

6. This action is being filed within ninety (90) days of the EEOC “Right to Sue” Letter being
received by Plaintiff. Therefore, this action is timely.

7. Plaintiff has exhausted his administrative remedy on all claims pled hereunder prior to

filing this action with this Court.

PARTIES
8, Plaintiff is, and was at all times material to this action, an individual, residing in the State
of Nevada, employed by Defendant.
9. Plaintiff is informed and believes, and thereupon alleges, that Defendant is and was at all

times material to this action, GNLV CORP, doing business as GOLDEN NUGGET LAS VEGAS, a
domestic corporation (hereinafter “Defendant”), duly authorized to transact, and in fact transacting

business in the County of Clark, State of Nevada.
GENERAL ALLEGATIONS

10. Plaintiff is informed and believes, and thereupon alleges, that on or about February11,

2000, Plaintiff entered into employment with Defendant as a Table Games Dealer.

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11. Mr. Dickens is a proficient Dealer on all games on the floor of the Golden Nugget.
12. Plaintiff was born on March 4, 1964, and is currently fifty-six (56) years old.
13. Plaintiff walks with a limp, suffers from diabetes, and is overweight.

14. Mr. Dickens had four (4) weeks of vacation per year and he had utilized FMLA Leave in

the past.
15. In February of 2020, Plaintiff was given an award for putting in twenty (20) years of work
with his employer. |

16. On March 17, 2020, Plaintiff was laid-off temporarily due to the Covid-19 pandemic.

17. Upon information and belief, while Plaintiff was laid-off, Defendant began auditioning
very young individuals, who were mostly female, or possibly entirely female, for positions that Mr.
Dickens had worked proficiently in the Table Games Department of the Golden Nugget during his twenty

(20) year career with the Defendant.

18. Upon information and belief, several of the young, and mostly female job applicants were
hired by Defendant.
19. Mr. Dickens was terminated on or about June 27, 2020 and Mr. Dickens was toid that the

termination was due to a “Reduction in force due to a slow down in business with no foreseeable end to
the slow down.”

20. Plaintiff was discriminated against based upon his age (over 40), and/or his disability
(diabetic and overweight) and/or his gender (male).

21. Plaintiff suffered additional damages set forth in this Complaint.
FIRST CAUSE OF ACTION
(Discrimination Based on Gender in violation of State and Federal Statutes)

22. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.
23. Plaintiff is a member of the class of persons protected by state and federal statutes

prohibiting discrimination based on gender.

24. Plaintiff intended to continue dutifully working for Defendant for several years into the
future.
25. Defendant took advantage of the Covid-19 pandemic to hire young and mostly, or entirely

 
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female employees to replace male employees, such as the Plaintiff herein.

26. Defendant, as an employer is subject to Nevada and federal statutes prohibiting
discrimination, NRS 613.330 et. seq. and Title VII, 42 U.S.C. § 2000e et. seq. as amended and thus, has
a legal obligation to provide Plaintiff and all employees a workplace free of unlawful discrimination.

27. Plaintiff was told that criteria were used in determining the employees that were retained
such as disciplinary history and attendance records.

28. Defendant thinly veiled their discriminatory intentions with a smoke screen of
disinformation.

29, Defendant was summarily terminated, and tossed aside, after giving twenty (20) years of
his life to the Defendant.

30. Plaintiff suffered adverse economic impact including but not limited to loss of pay,
benefits, expenses and other damages which will be more fully described at the time of trial.

31, Plaintiff was embarrassed, humiliated, angered and discouraged by the discriminatory
actions taken against him.

32. Plaintiff suffered and continues to suffer compensable emotional and physical harm,
including but not limited to, headaches, sleeplessness, anxiety and depression resulting from this unlawful
discrimination by his employer.

33. Plaintiff is entitled to be fully compensated for his emotional disturbance by being forced
to endure this discrimination.

34. Pursuant to 1991 Amendments to title VII, Plaintiff is entitled to recover punitive damages
for Defendant’s malicious, intentional repeated violations of federal and state civil rights laws.
Discrimination based on gender has been illegal since 1964 and an employer of the size, reputation and

experience of Defendant should have not engaged in this blatant discrimination.

35, Plaintiff suffered damages in an amount to be deemed sufficient by the jury.
36. Plaintiff is entitled to an award of reasonable attorney’s fees.
37, Defendant is guilty of oppression, fraud or malice, express or implied as Defendant

knowingly and intentionally discriminated against Plaintiff because of his gender.

38. Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other

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employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed

sufficient by the jury.
SECOND CAUSE OF ACTION
(Violation of the Age Discrimination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C.
§ 621. The Older Workers Benefit Protection Act (OWBPA) amended several sections of the
ADEA. Section 115 of the Civil Rights Act of 1991 amended section 7(e) of the ADEA (29 U. S.C.
626(e)).)

39. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.

40. Plaintiff is over the age of forty (40), and therefore is a member of the class protected
pursuant to the ADEA and OWBPA.

Al, Plaintiff was treated in a disparate manner in relation to those individuals not of this
protected class.

42. Upon information and belief, the disparate treatment of individuals over the age of 40 was
rampant in Defendant’s company.

43, While Plaintiff was self-quarantining in his home with his family; Defendant was busy
hiring young individuals, to replace Mr. Dickens.

44. While Mr. Dickens was quarantining in his home, Defendant was hiring young individuals
that did not have four (4) weeks of vacation per year, and health conditions that required treatment under
the employer’s health insurance.

45. Plaintiff suffered damages in an amount to be deemed sufficient by the jury.

46. Defendant is guilty of oppression, fraud or malice, express or implied as Defendant
knowingly and intentionally discriminated against Plaintiff because of his age.

47. Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other

employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed

 

sufficient by the jury.
48, Plaintiff is entitled to an award of reasonable attorney’s fees.
THIRD CAUSE OF ACTION
(Violation of the ADA)
49. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.

 
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50. Plaintiff walks with a limp, is diabetic, and overweight.
51. Defendant was aware that Plaintiff had a disability which affected major life activities.
52. Plaintiff was a qualified individual, as Mr. Dickens was more than able to perform his

essential job duties with a reasonable accommodation.

53. Defendant refused to abate disability discrimination directed toward Plaintiff regarding his
disability, and discriminated against Plaintiff by subjecting him to disparate terms and conditions of
employment, eliminating his ability to work with accommodations, through Plaintiff was fully capable of
performing his duties with a reasonable accommodation.

54. Defendant’s adverse treatment of Plaintiff was not based upon any medical justification or
other reasonable reason and was discriminatory as to Plaintiff. Defendant adversely treated Plaintiff
without just cause and because of his disability. Such adverse employment actions were in violation of
the ADA.

55. Defendant hired young, able bodied individuals, to work while Mr. Dickens was in a “laid
off” status expecting that a cali would come any day to send him word that he could resume working.

56. Defendant then unlawfully terminated Plaintiffs employment.

57. As a result of Defendant’s above stated actions, among others, Plaintiff suffered
deprivation of his income in the form of wages and prospective benefits, and emotional pain and suffering,
mental anguish, humiliation, embarrassment, indignity, and other intangible injuries in an amount to be
proven at trial. Defendant’s refusal to engage in any interactive process to address and remediate the
discrimination and retaliation and to eradicate these issues at work, was to effectuate a discriminatory
purpose toward Plaintiff by Defendants.

58. Plaintiff should be awarded punitive damages as well, as a result of Defendants’ extreme
and outrageous conduct.

59, Plaintiff has incurred and continues to incur, attorney’s fees in the prosecution of his

claims. Plaintiff therefore seeks an award of reasonable attorney fees, in a sum according to proof at trial.

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WHEREFORE, Plaintiff prays for relief against Defendants, each of them, as follows:
ON_ ALL CAUSES OF ACTION
Ie For compensatory damages in the principal amount in excess of seventy-five thousand
dollars ($75,000.00) to be proven at trial;
es For punitive damages in the principal amount in excess of seventy-five thousand dollars
($75,000.00) to be proven at trial;

3. For special damages in the principal amount in excess of seventy-five thousand dollars,

($75,000.00) to be proven at trial;

4, For attorney’s fees and costs incurred;

5 For all damages in an amount to be proved at trial;

6 For costs of suit herein incurred;

te For reasonable interest on amounts due; and

8 For any such other and further relief as this Court deems just and proper.

DATED this 15" day of January, 2021.

MULLINS & TRENCHAK, ATTORNEYS AT LAW

Philip J. Trenchak, Esq.

Nevada Bar No. 009924

Mullins & Trenchak, Attorneys at Law
1614 8S. Maryland Parkway

Las Vegas, NV 89104

 
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PLAINTIFF’S JURY DEMAND
Plaintiff, Timothy Dickens by and through his attorney. of record, PHILIP J. TRENCHAK, ESQ.

and VICTORIA MULLINS, ESQ. of the law firm MULLINS & TRENCHAK, ATTORNEYS AT LAW,
respectfully submits this Demand for Jury pursuant FRCP 38 in the above captioned matter.

DATED this 15" day of January 2021.

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MULLINS & TRENCHAK, ATTORNEYS AT LAW

PHILIP J. TRENCHAK, ESQ.
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E: victoria@mullinstrenchak.com
Attorneys for Plaintiff

 
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List of Exhibits

Exhibit A
Right to Sue Notice

Exhibit B
EEOC Charge
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Exhibit A
Right to Sue Notice
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EGOG Form 161-8 (11/46) LS. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

To: Timothy Dickens From: Las Vegas Local Office
cio: MULLINS & TRENCHAK, Attorneys at Law 333 Las Vegas Bivd South
Attn: Philip J. Trenchak, Esq. Suite 5560
1644S. Maryland Pkwy. Las Vegas, NV 89101

Las Vegas, NV 89184

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1801.7(28})

 

FEOC Charge No. FEOG Represeniative Telephone No.
Saul Vazquez,
487-2020-01545 . investigator (702) 553-4460

 

{See also tie additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabliities Act {ADA), or the Genetic Information Nendiseriminaiion
Act (GINA): This is your Notice of Right to Sue, issued under Tifle Vii, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Tite Vii, the ADA or GINA must be filed in a federal or state court WITHIN $6 DAYS
of your receipt of this notice; or your right to sus based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different}

[| More than 180 days have passed since the filing of this charge.

Less than 180 days have passed since the jiling of this charge, but | have determined that it is unlikely that the EEOC wit
be able io complete its administrative processing within 180 days from the filing of this charge.

The EEQC is terminating its processing of this charge.
[J] The EEOC wil continue to process this charge.

Age Discrimination-in Eniployment AvtqADEA): You may gue under the ADES at any dime from 60 days after the change was filed unti
90 days after you receive notice that we have completed action on the charge. in this regard, the paragraph marked below applies tc
your case:

The FFOC ts closing your cass. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
$0 DAYS of your receipt of this Notice. Otherwise, your right fo sue based on the above-numbered charge will be losi.

E_] The EEOC is continuing its handling of your ADEA case. However, if60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): ‘You already have the right to sue under the EPA (fling an EEOC charge is not required.) EPA sults must be brought

in federal or state court within 2 years (3 years for wiliful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file sult may not be collectible.

If you file suit, based on this charge, please send 2 copy of your court complaint io this office.

On behaif of the ye sion <j by Tarnara M.
We

Tamara Yr a cnues

 

 

 
  

‘; {Date Mailed)

   

Enclosures(s)

  

f EOC, ou=Director-L¥LO, .
7 ey rio Heeioc. gure
Local Officedire

Gs. Susan Stanton
Vice President of Human Resources
GNLY CORP. dba GOLDEN NUGGET LAS VEGAS
129 EAST FREMONT STREET
Las Vegas, NV 83910
‘ Case 2:21-cv-00087-APG:VCF Document 1 “Fited-61/15/21 Page 12 of 16

Enclosure with EEQC
Form 187-B (118)

INFORMATION RELATED TO FILinG Suit
UNDER THE LAWS ENFORCED 8Y THE EEOC

{This information relates to filing suit in Federal or State court under Federal law.
if you also pian fo sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act {GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be fost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it Furthermore, in order to avoid any question that you did not act in a timely
manner, itis prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if tater.

‘Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usuaily, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attomey. Filing this Notice is not enough. You must file a "complaint" that contains a short
Statement of the facts of your case which shows that you are entitled to relief, Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your compiaint where the charge includes a date of birth. Your suit may include
any Matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. . lf you have simple questions, you usually can get answers from
the cfice of the clerk of the court where you are bringing suit, but de not expect that office to write your compiaini
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS ~ Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed fram 7/1/08 to 12/1/08, you should file suit
before 7/4/10 ~ not 12/1/10 — in order to recover unpaid wages dus for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vi, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VIi, the ADA, GINA or the ADEA, in addition te suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION - Title Vii, the ADA or GINA:

if you cannot afford or have been unable to obtain a lawyer fo represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court In the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attormey). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -~ All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which ULS. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it prompily in writing and provide
your charge number (as shown on your Notice}. While EEOC destroys chargé files affer a certain time, all charge files
are kept for at least 6 months after our last action on the case, Therefore, if you file suit and want to review the charge
file, piease make your review request within 6 months o7 this Notice. (Before filing suif, any request should be
made within the next $0 days.)

if YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retzin an attorney to assist you with your ADA claim, we recommend that you share this

information with your attorney and suggest that he or she consult the amended regulations and
appendix, and ofher ADA related __ publications, available at
hittp://www.eeoc.gov/laws/types/disability r tions.cfm. - ‘

 

 

   

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
yeu must meet the standards for either “actual” or “record of” a disability):

» The limitatious from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

» In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more exampies at 29 CFR. §

1630.2(4)), “waajor life activities’ now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourmary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (€.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is @ disability if it would be substantially limiting when active.

>» An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months. :

VV

“Regarded as” coverage:

» An individual can meet the definition of disability if an empicyment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

» The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or léss)AND minor,

» A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“shouid not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require Specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at hitp:/Avww.eenc. gov/taws/types/disabilitv_reeulations.cfm.
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Exhibit B
EEOC Charge
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EEOC Fonm 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974, See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEOc 487-2020-01546

Nevada Equal Rights Commission and EEOC
State or local Agency, ifany:

 

 

 

Name findicate Mr, Ms., Mrs.) Home Phone (incl. Area Goce) Date of Birth
Timothy Dickens (702) 830-1408 1964
Street Address City, State and ZIP Code

8238 Fame Ave., Las Vegas, NV 89147

 

 

 

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Ageficy Thai [ Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Mambers | Phone No. (Include Ares Cade)
GNLV CORP. dba GOLDEN NUGGET LAS VEGAS 500 or More (702) 385-7111
Street Address City, State and ZIP Code

129 EAST FREMONT STREET, Las Vegas, NV 89101

 

 

 

 

 

Name No. Employees, Mambers Phone No. {include Area Cade)
Straat Address Gity, State and ZIP Code
DISCRIMINATION BASED ON (Cheek appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

[ ] RACE [| COLOR [x] SEX [ ] RELIGION [J NATIONAL ORIGIN 03-17-2020 06-27-2020
RETALIATION [x] AGE DISABILITY [| GENETIC INFORMATION

OTHER (Specify) CONTINUING ACTION

 

 

THE PARTICULARS ARE (if addifonal paper is needed, attach extra sheei(s)):

| began working at the GOLDEN NUGGET on February 11, 2000. | was laid off on March 17, 2020 due
to COVID-19. On June 27, 2020, | was called by the GOLDEN NUGGET and told that ! was terminated
to "a reduction in force due to a slowdown in business with no foreseeable end to the slow down."
Upon information and belief, prior to my termination, the GOLDEN NUGGET, was auditioning very
young individuals (mostly female) for positions that [| had worked during my twenty (20) year dealing
career with the GOLDEN NUGGET. | had four (4) weeks of vacation. | am a fifty-six (56) year old male.
| am diabetic and | am overweight. | have also had FMLA in the past.

| am making this EEOC Charge on behalf of myself and for those in a class similarly situated as
myself.

 

 

1 want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY ~ When ascessary for State and Loca! Agency Requirements

will advise the agencies if 1 change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures. . | swear or affirm that i have.read the above charge and that itis true te
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and beltef.
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
xX Lele L over bd (manth, dey, year)

~Toharging Party Signature

 

 

 

 

 
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GP Enclasurs with EEQG Form 5 (14/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

4. Form NumeBer/TiLte/Date. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.6. 12117, 42 U.S.C. 20007-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin

state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should Identify the charging and responding parties and the actions or
policies complained of, Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn fo or affirmed (either by using this form
or by presenting a notarized statement or unswom declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. it is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA, Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreernents. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit conceming this charge. Under Section 704(a) of Title VE, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f} of GINA, it is unlawful for an ernpfoyer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawiul by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or Interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
